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  AWL:awl

                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               CASE NO.       18-20393-CR-COOKE(s)


  UNITED STATES OF AMERICA,

  vs.

  CARLOS MONTOYA,

                         Defendant.
                                                                                   /

               UNITED STATES= MOTION FOR DEETERMINATION OF
        MONEY JUDGMENT AMOUNTS, FOR PRONOUNCEMENT OF FORFEITURE
         MONEY JUDGMENTS AT SENTENCING, AND FOR INCORPORATION OF
                      FORFEITURE INTO THE JUDGMENT

          The United States of America, by and through the undersigned Assistant United States

  Attorney, moves that this Court determine appropriate money judgment amounts for all counts of

  conviction, that the Court enter a Judgment of Forfeiture, that the Court pronounce forfeiture at

  sentencing in accordance with Fed.R.Crim.P. 32.2 and incorporate the forfeiture into the judgment.

  In support of its motion, the United States submits the following:

                                             Background

          Defendant, Carlos Montoya (“Montoya”), was charged with, and convicted of:

  conspiracy to commit wire fraud in violation of 18 U.S.C. '1349 [Count 1]; and federal program

  fraud in violation of 18 U.S.C. '666 [Count 5]. (D.E. 56). The superseding indictment placed

  Montoya on notice that, upon Montoya’s conviction for the wire fraud conspiracy or the federal

  program fraud, the United States would pursue forfeiture of “any property real or personal, which

  constitutes or is derived from proceeds traceable to such violation.” (D.E. 56, p. 13).
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          Montoya was convicted at trial. There was no nexus determination required to be made

  by the jury as there were no specific properties identified for forfeiture. Fed.R.Crim.P. 32.2; (D.E.

  147).

          The forfeiture money judgment determinations must be made at the latest, by the

  conclusion of sentencing, currently scheduled for June 26, 2019. The United States moves that

  the Court make the appropriate forfeiture determinations, enter the appropriate forfeiture

  judgments, pronounce forfeiture as part of Montoya’s sentence and incorporate the forfeiture into

  the judgment entered against Montoya.

                                              Argument

          Because Montoya has been convicted of crimes for which forfeiture is mandatory, the

  Court, in accordance with Federal Rule of Criminal Procedure 32.2, must impose forfeiture and

  pronounce forfeiture as part of Montoya’s sentence.

  I.      Forfeiture Is Mandatory

          Montoya, having been convicted of conspiracy to commit wire fraud and federal program

  fraud, faces mandatory forfeiture pursuant to the applicable statute, 18 U.S.C. § 981(a)(1)(C).

  The statute uses the word “shall.” As the Supreme Court has noted, when a statute directs that a

  court “shall order” forfeiture in imposing sentence, “Congress could not have chosen stronger

  words to express its intent that forfeiture be mandatory in cases where the statute applie[s].”

  United States v. Monsanto, 491 U.S. 600, 607 (1989).

          Forfeiture for crimes, for which no specific criminal forfeiture exists, such as wire fraud

  not affecting a financial institution, and federal program fraud not affecting the FDIC is mandatory

  by application of Title 28, United States Code, Section 2461(c) which provides in pertinent part:


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           If the defendant is convicted of the offense giving rise to the forfeiture, the court
           shall order the forfeiture of the property as part of the sentence in the criminal case
           pursuant to the Federal Rules of Criminal Procedure and section 3554 of title 18,
           United States Code.

  (Emphasis supplied); United States v. Brummer, 598 F.3d 1248 (11th Cir. 2010)(finding that

  district court was required to direct forfeiture under 28 U.S.C. ' 2461(c)). What is forfeitable

  when there is a wire fraud violation not affecting a financial institution and federal program fraud

  not affecting the FDIC, 1 is defined by Title 18, United States Code, Section 981(a)(1)(C) which

  provides for forfeiture of Aany property, real or personal, which constitutes or is derived from

  proceeds traceable to...any offense constituting >specified unlawful activity= (as defined in section

  1956(c)(7) of this title), or a conspiracy to commit such offense.@

           The Eleventh Circuit has upheld the imposition of forfeiture money judgments in many

  fraud cases, see e.g., United States v. Hernandez, 803 F.3d 1341, 1342-43 (11th Cir. 2015)(district

  court erred when it failed to impose forfeiture money judgment for theft of government funds in

  addition to imposing restitution); United States v. Noorani, 188 Fed. Appx. 833, 838 (11th Cir.

  2006)(rejecting argument that court lacked statutory authority to impose forfeiture money

  judgment for proceeds of cigarette trafficking offense) and United States v. Crumpler, 229 Fed.

  Appx. 832, 840 (11th Cir. 2007)(defendant must pay money judgment equal to value of stock

  options obtained in violation of the securities laws).

           The Court must impose forfeiture, as part of Montoya’s sentence, for conspiracy to commit

  wire fraud, and for federal program fraud.

  II.      Forfeiture Money Judgments Are Determined By The Court Pursuant To Statutory

  1 Title 18, United States Code, Section 1343 is a racketeering activity identified in 18 U.S.C. § 1961(1)(B). Since
  racketeering activities are included as specified unlawful activities in §1956(c)(7)(A), forfeiture is imposed through
  18 U.S.C. §981(a)(1)(C). Similarly, a violation of 18 U.S.C. §666 is found in 18 U.S.C. §1956(c)(7)(D), forfeiture
  is imposed through 18 U.S.C. §981(a)(1)(C).
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         Language

         When the government seeks a forfeiture money judgment, “the court must determine the

  amount of money that the defendant will be ordered to pay.” Fed.R.Crim.P. 32.2(b)(1)(A). The

  amount of the forfeiture money judgment need not be specified in the charging document.

  Fed.R.Crim.P. 32.2(a).

         For purposes of calculating the money judgment for the conspiracy to commit wire fraud

  in violation of 18 U.S.C. § 1349, as well as the federal program fraud, the amount of proceeds

  must be determined. “[T]he term ‘proceeds’ is defined as … [i]n cases involving …unlawful

  activities…means property of any kind obtained directly or indirectly, as the result of the

  commission of the offense giving rise to forfeiture and any property traceable thereto, and is not

  limited to the net gain or profit realized from the offense.” United States v. Russo, 2007 WL

  505056 *4 (S.D.Ala. Feb. 14, 2007) citing 18 U.S.C. §981(a)(2)(A).        The Eleventh Circuit has

  utilized the “but for” test in determining whether something constitutes proceeds. See United States

  v. Hoffman-Vaile, 568 F.3d 1335, 1344 (11th Cir. 2009)(applying “but for” test: health care

  provider convicted of Medicare fraud is liable to forfeit funds received from Medicare and funds

  she received from private insurers because funds would not have been received “but for” the

  fraudulent billings); United States v. Cekosky, 171 Fed. Appx. 785, 787-88 (11th Cir.

  2006)(because defendant would not have been able to open his bank account “but for” having

  committed an identity theft offense, the interest he earned on the deposits in that bank account

  represented the proceeds of the offense, even though the deposits themselves were made with

  legitimate funds). Defendant obtained proceeds from the conspiracy to commit wire fraud and the

  defendant received benefits for the amount “donated” to HFR in violation of Title 18, United States


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  Code, Section 666. Those proceeds are therefore, forfeitable.

  III.   The Forfeiture Money Judgment Amounts Are Readily Determined

         For purposes of calculating the forfeiture money judgment for the wire fraud conspiracy

  (Count 1), Montoya’s entire conspiratorial scheme must be reviewed.

         Extensive evidence of the scheme was presented and the Court should conclude that the

  proceeds of the Count 1 conspiracy is at least $13 million. See Docket Entry 224, pp. 10-13

  (United States of America’s Objection to the PSR, Response in Opposition to Defendant

  Montoya’s Objections to the PSR and Sentencing Memorandum.

         For purposes of calculating the proceeds attributable to the federal program fraud/bribery,

  the amount of proceeds paid by Montoya is readily determined: Montoya paid $160,000. The

  forfeiture money judgment for Count 5 should be $160,000.

         The requested money judgments should be entered.

  IV.    The Requested Forfeitures Do Not Constitute An Excessive Fine

         The imposition of the requested forfeiture money judgments, does not constitute a violation

  of the Eighth Amendment=s prohibition against excessive fines as the value of the money judgment

  amounts fall below the maximum statutory fines for the given offenses and are presumptively

  constitutional.

         If the value of forfeited property is within the range of fines prescribed by Congress,
         a strong presumption arises that the forfeiture is constitutional ... [I]f the value of
         the property forfeited is within or near the permissible range of fines under the
         sentencing guidelines, the forfeiture almost certainly is not excessive.

  United States v. One Parcel of Real Estate etc., 214 F.3d 1291, 1295 (11th Cir. 2000), citing United

  States v. 817 N.E. 29th Drive, Wilton Manors, Florida, 175 F.3d 1304, 1309-110 (11th Cir. 1999)(if

  the value of the property is less than the maximum statutory fine, a Astrong presumption@ arises

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  that the forfeiture is constitutional; if the value of the property is within or near the permissible

  range of fines under the Sentencing Guidelines, the forfeiture is almost certainly non-excessive;

  the personal characteristics of the owner, the character of his/her property, and the value of any

  remaining assets are irrelevant).

         “The guidelines state that where a statute authorizes a maximum fine of greater than

  $25,000[sic], the maximum fine imposed by the guidelines does not apply and the statutory

  maximum applies instead.” United States v. One Parcel of Real Estate etc., 214 F.3d 1291, 1295

  (11th Cir. 2000), citations omitted.

         The maximum statutory fine for Count 1 is $50,000,000. The maximum statutory fine for

  Count 5 is $320,000. Since the maximum fine range exceeds the $250,000 referenced in United

  States v. One Parcel of Real Estate etc., 214 F.3d 1291, 1295 (11th Cir. 2000) the Guideline range

  does not apply but the statutory range does. The forfeiture money judgment amounts sought for

  each of the counts of conviction, $13 million and $160,000, are well below the statutory fine range

  and are presumptively, not excessive.

         A defendant bears the burden of demonstrating that the forfeiture is grossly disproportional

  to the gravity of the offense. See United States v. DeGregory, 480 F. Supp. 2d 1302, 1304 (S.D.

  Fla. 2006); United States v. Wilk, 2007 WL 2263942 (S.D. Fla. 2007). Montoya cannot meet his

  burden of proof to demonstrate that the requested forfeitures are disproportional to the gravity of

  his offenses. The requested forfeiture order, including the amounts specified, should be entered.

  V.     Forfeiture Must Be Pronounced At Sentencing And
         Incorporated Into The Judgment

         Federal Rule of Criminal Procedure 32.2 sets forth how forfeitures are handled as part of

  sentencing. AThe court must include the forfeiture when orally announcing the sentence or must

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  otherwise ensure that the defendant knows of the forfeiture at sentencing. The court must also

  include the forfeiture order, directly or by reference, in the judgment, but the court=s failure to do

  so may be corrected at any time under Rule 36.@ Fed.R.Crim.P. 32.2(b)(4)(B).

         The proposed order submitted in this matter, comports with the requirements of

  Fed.R.Crim.P. 32.2 and the procedures set forth at 21 U.S.C. 853, made applicable by 28 U.S.C.

  ' 2461 and by 18 U.S.C. ' 982(b).

                              Defendant=s Position on Requested Relief

         Undersigned counsel, in accordance with Local Rule 88.9, sent the instant motion and

  proposed order to counsel for defendant via electronic mail. The electronic mail was sent before

  sentencing on June 26, 2019. No agreement on this motion was reached.

                                            CONCLUSION

         Accordingly, based upon the foregoing, it is prayed that the Court determine that the

  forfeiture money judgments in the requested amounts should be entered, that the Court pronounce




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  forfeiture as part of Montoya=s sentence and incorporate the forfeiture, by reference, into the

  judgment entered against Montoya.

                                                      Respectfully submitted,

                                                      ARIANA FAJARDO ORSHAN
                                                      UNITED STATES ATTORNEY

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                                 CERTIFICATE OF SERVICE

         I hereby certify that on June 26, 2019, the undersigned electronically filed the foregoing

  United States= Motion for Determination of Money Judgment Amounts, for Entry of a Judgment

  of Forfeiture, for Pronouncement of Forfeiture at Sentencing, and for Incorporation of Forfeiture

  into the Judgment, with the Clerk of the Court, using CM/ECF.


                                              By:     s/Alison W. Lehr
                                                      Alison W. Lehr
                                                      Assistant United States Attorney




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